                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                  )
                                          )
       v.                                 )      No. 3:17-00092
                                          )      JUDGE TRAUGER
TAD ERIC CUMMINS                          )

                                 NOTICE OF APPEAL

       Notice is hereby given that Tad Eric Cummins appeals to the United States

Court of Appeals for the Sixth Circuit from the judgment and conviction entered

in this action on January 23, 2019.

                                          Respectfully submitted,

                                          s/ Dumaka Shabazz
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                                          Attorney for Tad Eric Cummins

                              CERTIFICATE OF SERVICE

       I hereby certify that on January 23, 2019, I electronically filed this Notice of
Appeal with the U.S. District Court Clerk via CM/ECF, which will send a Notice of
Electronic Filing to Sara E. Myers and Philip H. Wehby, Assistant United States
Attorneys, 110 Ninth Avenue South, Suite A-961, Nashville, Tennessee 37203-3870.

                                          s/ Dumaka Shabazz
                                          DUMAKA SHABAZZ



   Case 3:17-cr-00092 Document 121 Filed 01/23/19 Page 1 of 1 PageID #: 783
